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                                   7                                   UNITED STATES DISTRICT COURT

                                   8                                  NORTHERN DISTRICT OF CALIFORNIA

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                                         INNOVATION LAW LAB, et al.,
                                  10                                                         Case No. 19-cv-00807-RS
                                                        Plaintiffs,
                                  11
                                                 v.                                          ORDER FOR EXPEDITED FURTHER
                                  12                                                         BRIEFING
Northern District of California
 United States District Court




                                         KIRSTJEN NIELSEN, et al.,
                                  13
                                                        Defendants.
                                  14

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                                  16          Defendants’ opposition to the pending motion for a preliminary injunction leads with a

                                  17   section entitled “Plaintiffs’ claims are not justiciable,” which is divided into one subsection

                                  18   arguing the challenged matters represent an unreviewable exercise of agency discretion, and a

                                  19   second subsection asserting various specific provisions of the Immigration and Nationality Act

                                  20   (INA) otherwise preclude judicial review. At the hearing, the parties were discouraged from

                                  21   arguing “justiciability” issues, because it was the Court’s view the basic arguments against

                                  22   reviewability were not persuasive and that oral argument was unlikely to provide further

                                  23   assistance on those points.

                                  24          Defendants’ recitation of various INA subsections they contend affect reviewability

                                  25   include one sentence invoking 8 U.S.C. §1252(e), which they lump together with 8 U.S.C.

                                  26   §1252(a). As defendants point out, subsection (a) of §1252 limits judicial review determinations

                                  27   made under 8 U.S.C. §1225(b)(1). Because this action involves defendants’ invocation of a

                                  28   provision under 8 U.S.C. §1225(b)(2), the reviewability limitations of subsection (a) of §1252 are
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                                   1   not plainly implicated.

                                   2          Subsection (e)(3) of §1252, in contrast, is entitled “Challenges on validity of the system.”

                                   3   It provides:

                                   4             (A) In general
                                   5                  Judicial review of determinations under section 1225(b) of this title and
                                                      its implementation is available in an action instituted in the United
                                   6                  States District Court for the District of Columbia, but shall be limited
                                                      to determinations of—
                                   7
                                                         (i) whether such section, or any regulation issued to implement such
                                   8                     section, is constitutional; or
                                   9                     (ii) whether such a regulation, or a written policy directive, written
                                                         policy guideline, or written procedure issued by or under the
                                  10                     authority of the Attorney General to implement such section, is not
                                                         consistent with applicable provisions of this subchapter or is
                                  11                     otherwise in violation of law.
                                  12            (B) Deadlines for bringing actions
Northern District of California
 United States District Court




                                  13                     Any action instituted under this paragraph must be filed no later than
                                                         60 days after the date the challenged section, regulation, directive,
                                  14                     guideline, or procedure described in clause (i) or (ii) of
                                                         subparagraph (A) is first implemented.
                                  15
                                                (C) Notice of appeal
                                  16                 A notice of appeal of an order issued by the District Court under this
                                                     paragraph may be filed not later than 30 days after the date of
                                  17                 issuance of such order.
                                  18            (D) Expeditious consideration of cases
                                  19                     It shall be the duty of the District Court, the Court of Appeals, and the
                                                         Supreme Court of the United States to advance on the docket and to
                                  20                     expedite to the greatest possible extent the disposition of any case
                                                         considered under this paragraph.
                                  21

                                  22          Thus, on its face, subsection (e)(3), unlike subsection (a), is not limited to matters arising

                                  23   under U.S.C. §1225(b)(1), but includes issues under any part of §1225(b). Moreover, it expressly

                                  24   refers to “determinations under section 1225(b) of this title and its implementation . . .” (emphasis

                                  25   added). It further specifies that judicial review is available—in United States District Court for the

                                  26   District of Columbia—as to whether a “a regulation, or a written policy directive, written policy

                                  27   guideline, or written procedure issued by or under the authority of the Attorney General to

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                                   1   implement such section, is not consistent with applicable provisions of this subchapter or is

                                   2   otherwise in violation of law.” At least at first blush, that appears to describe with great precision

                                   3   the claims plaintiffs are attempting to bring in this case.1

                                   4            Defendants’ opposition does not clearly point out the potential applicability of this section.

                                   5   The focus of the opposition is on arguments that plaintiffs’ claims are not subject to judicial

                                   6   review at all, rather than that they must be heard in United States District Court for the District of

                                   7   Columbia. Where the opposition does mention subsection (e), it argues subsection (e) and

                                   8   subsection (a) jointly apply because “Plaintiffs assert they must be placed in expedited removal

                                   9   proceedings, and therefore section 1225(b)(2)(C) cannot be applied to them.” Opposition, Dkt. No.

                                  10   42, p. 9, lines 20-21. Not surprisingly, plaintiffs’ opposition only attempts to rebut the argument

                                  11   presented—it contends subsection (e) does not foreclose review because they are not in fact

                                  12   contending they must be placed in expedited removal proceedings. Reply, Dkt. No. 52, p. 2, lines
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                                  13   18-21.

                                  14            Unfortunately, this issue did not become crystalized prior to the hearing. Because it

                                  15   arguably goes to jurisdiction, however, it cannot simply be set aside. Accordingly, no later than

                                  16   Noon, Pacific Time, April 3, 2019, plaintiffs and defendants shall each file a supplemental brief

                                  17   not to exceed 10 pages addressing whether or not 8 U.S.C §1252(e)(3) vests exclusive jurisdiction

                                  18   of this matter in the District of Columbia. Both parties should address whether, if the Court

                                  19   concludes jurisdiction lies exclusively in the District of Columbia, it should dismiss this case or

                                  20   order it transferred, and whether or not it may exercise either of those options without further

                                  21   notice. The parties are of course free to stipulate to a disposition in the event they agree that 8

                                  22   U.S.C §1252(e)(3) requires this matter to be brought in the District of Columbia.

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                                         The title of section 1252 is “Judicial review of orders of removal” and subparagraph (e) is
                                       entitled “Judicial review of orders under section 1225(b)(1).” Both of these headings arguably are
                                  26   inconsistent with a conclusion that subparagraph (e)(3) necessarily applies here. Headings, of
                                       course, do not ultimately control. If the terms of subparagraph (e)(3) itself plainly vest jurisdiction
                                  27   of this action in the District of Columbia, the headings will not compel a contrary result.

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                                   1   IT IS SO ORDERED.

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                                   3   Dated: March 28, 2019

                                   4                                        ______________________________________
                                                                            RICHARD SEEBORG
                                   5                                        United States District Judge
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Northern District of California
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